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A02458         (Rev. 09/08) Judgment in a Criminal Case
               Sheetl
                                                                                                                          FILED
                                                                                                                       us. DISTRICT COURT
                                                                                                                   EASTERN DISTRICT ARKotrSAS



                                          UNITED STATES DISTRICT COURT                                                   OCT -62011
                                                                                                             JAM                                   RK
                                                          Eastern District of Arkansas                       BY:_LI"L"-':loQ,oI'-I-l~J("/....-LLgh~="",,

              UNITED STATES OF AMERICA                                     ~         JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                                                                           )
             JOHNATHAN WILLIAM WILSON                                                Case Number:           4: lOCR00213-03 JLH
                                                                           )
                                                                           )         USMNumber:             26091-009
                                                                           )
                                                                           )         Danny W. Glover
                                                                                     Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         Count 1 of Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended              Count
18 U.S.c. §§ 513(a)               Conspiracy to pass counterfeit securities, a Class D felony                  June,2009                  1
  and 371




       The defendant is sentenced as provided in pages 2 through                 5
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s)      Counts 31-38 of Indictment                D is    X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in econoIOlC circumstances.

                                                                          October 6, 2011




                                                                          J. LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          October 6, 2011
                                                                          Date
                           Case 4:10-cr-00213-JLH Document 62 Filed 10/06/11 Page 2 of 5
AO 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 4-Probation
                                                                                                          Judgment-Page _ _
                                                                                                                          2 _ of             5
DEFENDANT:                   JOHNATHAN WILLIAM WILSON
CASE NUMBER:                 4: lOCR00213-03 JLH
                                                  PROBATION

The defendant is hereby sentenced to probation for a

                                                           THREE (3) YEARS



The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
x      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

o      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
       as directed by the probatIOn officer, the 13ureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or Eersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
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AO 2458    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 4A - Probation
                                                                                            Judgment-Page _ _
                                                                                                            3 _ of          5
DEFENDANT:                 JOHNATHAN WILLIAM WILSON
CASE NUMBER:               4:lOCR00213-03 JLH

                                              ADDITIONAL PROBATION TERMS

14) The defendant must participate in mental health counseling under the guidance and supervision of the U.S. Probation
Office.
15) Pursuant to 12 U.S.c. §§ 1785 and 1829, the defendant may not obtain employment in an institution insured by the FDIC
or a Federal Credit Union.
16) The defendant must disclose financial information upon request of the U.S. Probation Office, including, but not limited
to, loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is associated.
No new lines of credit may be established without prior approval of the U.S. Probation Office until all criminal penalties
have been satisfied.
                         Case 4:10-cr-00213-JLH Document 62 Filed 10/06/11 Page 4 of 5
AD 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                   Judgment -       Page      4     of       5
DEFENDANT:                        JOHNATHAN WILLIAM WILSON
CASE NUMBER:                      4: lOCR00213-03 JLH
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                             Fine                                                Restitution
TOTALS           $ 100.00                                                 $ 0                                             $ 6,641.01


o The determination of restitution is deferred until            - - ­
                                                                        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 US.c. § 3664(1), all nonfederal victims must be paid
    before the United States is paId.

Name of Payee                                Total Loss*                            Restitution Ordered                                    Priority or Percentage
Metropolitan National Bank                                                                           $1,214.12
Regions                                                                                              $5,426.89




TOTALS                             $                                            $                       6 ,=64-'-=1=.0=..=1'­
                                                                                                    -----=:1




o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X    the interest requirement is waived for the             o fine     X restitution.
     o the interest requirement for the              o   fine      0    restitution is modified as follows:

* Findings for the total amount oflosses are reCJuired under Chapters 109A, 110, 110A, and 1l3A of Tide 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                           Case 4:10-cr-00213-JLH Document 62 Filed 10/06/11 Page 5 of 5
AO 2458     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments

                                                                                                                Judgment -   Page _-=-5_ of              5
DEFENDANT:                   JOHNATHAN WILLIAM WILSON
CASE NUMBER:                 4:lOCR00213-03 JLH

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    X     Lump sum payment of $            100.00
                                               ----­
                                                     due immediately, balance due

           D      not later than                                     , or
           D      in accordance           D C,         D D,     D      E, or    [] F below; or

B    D     Payment to begin immediately (may be combined with                  DC,        D D, or       D F below); or
C    D     Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                          over a period of
          _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:
           Beginning the first month of probation, restitution payments will be 10 percent per month of the
           defendant's monthly gross income. The interest requirement is waived.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.

     Restitution will be joint and several with any other person who has been or will be convicted on an
     offense for which restitution to the same victim on the same loss is ordered.


D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
